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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   PHILIP KURLANDER, M.D., an
   individual, BAKER HILL HOLDING, LLC,
   a New York limited liability company,
   EDWIN M. STANTON, an individual, and
   STANTON HOLDINGS, LLC, a Delaware
   limited liability company,
            Plaintiffs,

   v.                                                   Case Number: 8:19-cv-742-T-02-
   AEP

   ROBERT R. KAPLAN, an individual,
   ROBERT R. KAPLAN, JR., an individual,
   and KAPLAN VOEKLER CUNNINGHAM
   & FRANK PLC, a Virginia professional
   limited company,
            Defendants.
   _____________________________/


         PLAINTIFFS' OBJECTION TO REPORT AND RECOMMENDATION
                          OF DISMISSAL [DOC. 73]

          Plaintiffs Philip Kurlander, M.D., Baker Hill Holding, LLC, Edwin M. Stanton, and

   Stanton Holdings, LLC, pursuant to 28 U.S.C. § 636(b)(1)(C) and this Court’s Local Rule

   6.02, objects to the Report and Recommendation issued August 5, 2020 by the Honorable

   Anthony Porcelli, United States Magistrate Judge [Doc. 73]. In support of the objection,

   Plaintiffs offer the following arguments and authorities.

   Standard for Consideration of the Objection

          The Report and Recommendation addresses a motion to dismiss for failure to state

   a claim upon which relief can be granted. Under 28 U.S.C. § 636(b)(1)(C):

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          A judge of the court shall make a de novo determination of those portions
          of the report or specified proposed findings or recommendations to which
          objection is made. A judge of the court may accept, reject, or modify, in
          whole or in part, the findings or recommendations made by the magistrate
          judge. The judge may also receive further evidence or recommit the matter
          to the magistrate judge with instructions.

          Accordingly, this Court’s review is de novo.

   The Motion, and the Report and Recommendation

          Plaintiffs’ Second Amended Complaint pleads two counts for relief. Count I is a

   claim for professional malpractice and Count II is a claim for common law fraud. Applying

   Virginia law in accordance with a prior ruling of this Court, the Magistrate Judge has

   recommended dismissal of Count II, because, generally, to the extent a fraud claim might

   be separately brought by a client against an attorney, the Second Amended Complaint does

   not adequately plead the fraud claim.

          Plaintiffs do not take issue with the Magistrate Judge’s discussion contained in Part

   I of his Report and Recommendation (the case “Background,” which is in turn divided into

   “Factual Background” and “Procedural Background” subparts). Nor do Plaintiffs take issue

   with the Magistrate Judge’s discussion contained in Part 2 of his Report and

   Recommendation (the “Legal Framework”).

          The Magistrate Judge noted that, under Virginia law, “while a duty not to commit

   fraud may lie independent of a contract, the specific facts alleged must indicate that the

   fraud regarded conduct that was not governed by the contract.” Doc. 73, p.11. In this

   context, the Magistrate Judge examined the operative pleading and found that “the Second

   Amended Complaint fails to allege a factual scenario in which the alleged fraud occurred

   outside of the attorney-client relationship.” Plaintiffs respectfully object to this finding.


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   The Client vs. Attorney Fraud Claim is Proper

             It appears the Magistrate Judge would view Virginia law as requiring that conduct

   sufficient to support an independent tort claim must arise independent of the attorney-client

   relationship, essentially requiring Plaintiffs to allege a breach of duties arising under a

   wholly different relationship, such as the parties’ investor-investor relationship or director-

   owner relationship.1 For example, the Magistrate Judge observed his central charge to be

   to “determine whether Plaintiffs’ fraud claims allege an independent duty outside of the

   alleged attorney-client relationship.” (Doc. 73, p.10) Unfortunately, this central

   determination varies from applicable Virginia law. While the attorney-client relationship

   must of course be considered when evaluating the existence of fraud as an “independent

   tort,” the central analysis must focus more acutely on the elements, proof and damages

   asserted by the fraud claim, than on the existence of a relationship that is wholly

   independent of the relationship underlying the malpractice claim.

             The Magistrate Judge’s Report and Recommendation accurately notes that, under

   Virginia law, professional malpractice actions are contract claims, generally arising out of

   alleged breaches of the contractual attorney-client relationship. From this point, the Report

   and Recommendation strays from Virginia law, as it is inconsistent with Goodstein v.

   Weinberg, 245 S.E.2d 140 (Va. 1978). In Goodstein, a client sued its attorneys for

   professional negligence and fraud due to the attorneys’ handling of certain aspects of pre-

   closing due diligence in relation to a real estate transaction. Id. at 141-42. The client’s




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       Count II of the Second Amended Complaint should be read as asserting breaches of the parties’
       investor-investor relationship, in addition to their attorney-client relationship. That aspect of the
       pleading is discussed infra.

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   “action against [the attorneys] contained one count seeking to recover compensatory

   damages for negligent breach of contract. Another count sought to recover both

   compensatory and punitive damages based solely on tort liability, for the allegedly

   fraudulent and willfully negligent conduct of the attorneys.” Id. at 142. The two counts

   arose out of the same facts and out of the only relationship that existed between the parties

   – their attorney-client relationship. The only difference between the two counts was the

   heightened level of intent, as fraudulent and willful conduct is necessary to prove fraud and

   to support the additional pleaded claim for relief – punitive damages. Id. at 141-42.

             At the time the Goodstein actions accrued, Virginia common law prevented a

   plaintiff from simultaneously seeking, in one action, relief in contract and tort. For this

   reason, the trial court had properly required the client to make an election between his

   malpractice and fraud claims. The first did not necessarily subsume the second; rather, the

   plaintiff could elect either, with the second allegedly supporting a judgment for punitive

   damages. The court noted:

              The general rule is that exemplary or punitive damages are not allowed for
              breach of contract even though the action is ex delicto and not ex contractu.
              This rule does not obtain, however, in those exceptional cases where the
              breach amounts to an independent, willful tort since the plaintiff has a right
              to elect whether he will proceed in tort or upon the contract.

   Goodstein, 245 S.E.2d at 143.2



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       The Goodstein court noted that, by the time of its opinion, Virginia’s common law bar to
       simultaneously bringing contract and tort claims had been statutorily superseded. For this reason,
       at the time of the opinion, the Goodstein plaintiff would not even have been required to elect
       between the two claims and could have prosecuted both:

             Clearly, at the time this issue was decided below, the trial court was correct in
             holding there was a misjoinder and in requiring an election by the plaintiffs. Since
             the plaintiffs elected, albeit by a required election, to proceed “solely on tort

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          Contrary to the Magistrate Judge’s analysis of the central issue under Virginia law,

   a fraud claim need not arise wholly outside the attorney-client relationship in order to be

   separately viable. In Goodstein, even though the malpractice and fraud claims arose out of

   precisely the same relationship and precisely the same conduct, the court expressly

   recognized that the fraud claim was an “independent, willful tort.” Id.

          As in Goodstein, Count II of Plaintiffs’ Second Amended Complaint includes a

   prayer for punitive damages that is not included in Count I, for the obvious reason that

   Count II requires a higher degree of proof as to intent or recklessness. Doc. 55, p. 60-61

   (ad damnum clause).

          Applying Goodstein, it is not the existence of a relationship wholly separate from

   the contractual attorney-client relationship that is determinative of whether a tort claim

   against an attorney can stand alongside a claim for professional malpractice; it is the

   existence of different elements of proof and damage. See, for example, Hewlette v. Hovis,

   318 F.Supp.2d 332 (E.D. Va. 2004), in which the court stated:

          Because claims against an attorney for breach of his duties as an attorney
          arise under contract law, punitive damages are not available in the absence
          of an “independent, wilful tort.” Kamlar Corp. v. Haley, 224 Va. 699, 707,
          299 S.E.2d 514 (1983). Thus, “a plaintiff seeking punitive damages should
          allege a wilful, independent tort in a count separate from that which alleges
          a breach of contract.” Id. An independent tort is “one that is factually bound
          to the contractual breach but whose legal elements are distinct from it.” A
          & E Supply Co. v. Nationwide Mut. Fire Ins. Co., 798 F.2d 669, 672 (4th
          Cir. 1986).




          liability”, they are bound by that election.
          ***
         … Code s 8.01-272… now permits the joinder of actions in tort and contract where
         those claims arose out of the same transaction or occurrence.

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   Hewlette v. Hovis, 318 F.Supp.2d 332, 335 (E.D. Va. 2004). Accord, Jones v. Link, 493

   F.Supp.2d 765, 772, n.9 (E.D. Va. 2007) (“An independent tort, such as fraud, is ‘one that

   is factually bound to the contractual breach but whose legal elements are distinct from it”)

   (emphasis added), quoting A & E Supply Co. v. Nationwide Mut. Fire Ins. Co., 798 F.2d

   669, 672 (4th Cir. 1986), citing Hewlette, Goodstein.

          At a minimum, adoption of the Report and Recommendation would constitute a

   premature dispositive ruling that Plaintiffs cannot assert a punitive damage claim as a

   matter of law. Goodstein appears to stand for the proposition that Plaintiffs cannot seek

   punitive damages under their contract-based Count I malpractice claim, with their Count

   II fraud claim being the proper vehicle for seeking such relief, even where the two claims

   arise out of the attorney-client relationship.

   In the Alternative, Count II Should be Treated as an Alternative Claim

          Alternatively, if the Court is inclined to adopt the Report and Recommendation’s

   holding that deceptive and fraudulent breaches of the attorney-client relationship cannot,

   as a matter of law, support a fraud claim distinct from a malpractice claim, the Court should

   consider Count II in the alternative pleading context.

          As mentioned above, it appears the Magistrate Judge would not recommend

   dismissal of Count II if he did not view the count as being limited solely to breaches of the

   attorney-client relationship. Even so, Count II is not so limited, because Count II does, in

   fact, allege the existence and breach of other duties arising under other relationships

   between the parties. Specifically, the Second Amended Complaint alleges the existence of

   fiduciary duties owed by Defendants as directors and officers of entities in which Plaintiffs



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   were or are owners, and expressly alleges the breach of such duties. See the following

   paragraphs, each of which is incorporated into Count II:

          ¶73     [The Kaplans were] richly rewarded for their multiple breaches of fiduciary
                  duty and duty of loyalty owed to the Plaintiffs

          ¶81     The Plaintiffs and the Defendants enjoyed a fiduciary relationship in which
                  the Defendants owed to the Plaintiffs at all times a duty to act with the
                  utmost degree of honesty, forthrightness, loyalty, and fidelity including, but
                  not limited to, the duty to promptly advise the Plaintiffs of any important
                  information that may infringe on the Defendants’ duties, the duty to disclose
                  material facts and explain their legal significance, and the duty of full and
                  fair disclosure, fairness, candor, and good faith in transactions involving the
                  Plaintiffs

          ¶87     [T]he following conduct, acts, and omissions of the Defendants have
                  directly led to losses by the Plaintiffs, or have indirectly and foreseeably
                  lead to losses of the Plaintiffs, either as a result of the professional
                  negligence, negligent misrepresentation, actual fraud, and/or breach of
                  fiduciary duty of the Defendants

           ¶90    The full extent of trust reposed by the Plaintiffs in the Kaplans is evidenced
                  by the fact the Plaintiffs cannot definitively establish that these are all of the
                  instances of malpractice and breaches of fiduciary duties that occurred
                  (emphasis added)

          Count II is properly viewed as alleging fraud that arises out of not only the parties’

   attorney-client relationship, but also of the director and officer to owner or investor

   relationship. This pleading is especially apropos since the Defendants audaciously deny

   the existence of an attorney-client relationship with three of the four Plaintiffs. See, e.g.,

   Defendant KVCF’s Answer, Doc. 62, ¶81 (“denied that Plaintiffs were KVCF’s clients in

   connection with any of the allegations asserted in the Complaint”); Affirmative Defense

   No. 1 (“The claim asserted against KVCF is barred because KVCF did not represent

   Plaintiffs and Plaintiffs were not KVCF’s clients in connection with any of the allegations

   asserted in the Complaint”).


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           Defendants’ insistence that they did not represent Plaintiffs cannot immunize them

   from liability for fraud, since fraudulent and deceitful breaches of their fiduciary duties

   will support a viable fraud claim even if no attorney-client relationship otherwise existed.

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                               CERTIFICATE OF SERVICE
           The undersigned hereby certified that the foregoing was filed and served on all

   counsel of record by way of the Court’s CM/ECF filing system this 19th day of August

   2020.


                                                 /s/Andy Dogali
                                                 Andy Dogali




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